      Case 1:17-cv-06874-NLH-JS Document 54 Filed 08/20/19 Page 1 of 1 PageID: 1035

                           UNITED STATES DISTRICT COURT

                               DISTRICT OF NEW JERSEY


 CHARLES MAIMONE, ET AL


                   Plaintiff
                                         Civil No. 17-6874(NLH/JS)
          V.


                                         ORDER OF DISMISSAL
   TIMOTHY MULLIGAN, ET AL


                     Defendant



This matter having been reported settled and the Court having

administratively terminated the action for sixty (60) days so that the

parties could submit the papers necessary to terminate the case, see Fed.

R. Civ. P. 41(a) (1) (A) (ii), L. Civ. R. 41.1, and the sixty-day time period

having passed without the Court having received the necessary papers;

     IT IS on this      20TH       day of    AUGUST, 2019

     ORDERED that the Clerk of the Court shall reopen the case and make a

new and separate docket entry reading "CIVIL CASE REOPENED"; and it is

further

     ORDERED that this matter be, and the same hereby is, DISMISSED WITH

PREJUDICE, and without costs pursuant to Fed. R. Civ. P. 4l(a) (2).
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                                         NOELL. HILLMAN, U.S.D.J.
